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IN THE UNITED STATES DISTRICT COURT Fl!.ED BY ‘@ m 0,{_:_
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUN -7 AH |0= |h
HOEEF:T l"l DE ROLlG
ANDREA COOK’ ) CLEl"-.'K., US L}ilST. C°l'.
) WD o§» nil newst
Plaintiff, )
)
v. ) Case No. 03-2852-D
)
THE CITY OF TRIMBLE, )
TENNESSEE, )
)
Defendant. )

 

ORDER GRANTING JOINT MOTION TO CONTINUE TRIAL DATE AND
DEADLINES FOR DISCOVERY

 

Before the Coult is the joint motion to continue the July 18, 2005 trial date and to extend the
discovery deadlines For good cause shown, the Court finds that the motion is Well-taken.
Accordingly, the Court GRANTS the motion.

The discovery deadline is extended to 52 P |¢ : bg §O , 2005. All dispositive

motions shall be filed by ogto\o,¢, 5 l , 2005. The trial is rescheduled to begin

lame ms £Q , 200@. A proposed joint pre-trial order shall be filed by

jan um,-l, 13 , 200 _é_ The pre-trial conference is rescheduled to
' J

IT IS SO ORDERED this §§ 'H` day ofJune, 2005.

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vulth Rule 53 and/or 79[&) FF{CP on '

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Honorable Bernice Donald
US DISTRICT COURT

